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IN THE UNITED STATES DlSTRlCT COURT
FOR THE DISTRICT OF MARYLAND

UNlTED STATES OF AMERICA *
*
v. *
* Criminal No. JKB-l6-0363
GERALD JOHNSON, et al., *
*
Defendants. *
*
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ORDER

Upon consideration of the Govemment's motion dated February 8. 2017, the Court finds

that. pursuant to Title 18. United States Code. Section 3161(h). the interests of justice will be

served by continuing the trial date beyond the speedy trial date and that the interests of justice

served by such delay in the trial of this case outweigh the interests of the public and the defendants

in a speedy trial, in that:

a. counsel for all defendants - with the exception of defendant Joseph Bonds, who is

currently without counsel after his attorney withdrew from the case on January l9 - have

indicated their consent to this motion;
b. the failure to grant this request in this proceeding would be likely to result in a

miscarriage of justice;

c. this case involves multiple counts and complex issues. and thus it would be unreasonable

to expect adequate preparation for pretrial proceedings or for the trial itself within the

time limits established by the Speedy Trial Act;

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d. the failure to set trial beyond the speedy trial date in this proceeding would deny counsel
for the Defendants and the attorneys for the government the reasonable time necessary
for effective preparation. taking into account the exercise of due diligence; and

e. it would be in the interest of justice to allow additional time for the parties to pursue plea
negotiations
Therefore, it is hereby ORDERED pursuant to 18 U.S.C. § 3 16 l(h) that the period from

November 9, 2016 and November l3, 2017 shall be excluded from computation under the

Speedy Trial Act. for the reasons set forth above.

Date The Honorable James K. Bredar
United States District Judge

 

